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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


CAREY D. EBERT,                               §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §       Civil Action No.: 4:15-cv-00225-0
                                              §
HOWARD MILLER APPEL, et al.,                  §
                                              §
       Defendants                             §


                                         ORDER

       Before the Court is Defendant John Paul DeJoria’s (“DeJoria”) Unopposed Motion to

Authorize Cash Deposit and to Confirm Stay Pending Appeal (ECF No. 366), filed May 10, 2018.

The Court, having considered the motion, finds that it should be and is hereby GRANTED.

       The clerk of the court is hereby DIRECTED to accept into the registry a cash deposit by

DeJoria in the amount of $11,280,250. Upon the making of that deposit, the Final Judgment against

John Paul DeJoria signed on March 7, 2018, will be STAYED pending the outcome of DeJoria’s

appeal to the United States Court of Appeals for the Fifth Circuit.

       SO ORDERED on this 11th day of May, 2018.



                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE




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